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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JOSE DE FREITAS,
                      Plaintiff,                     Case No. 1:19-cv-03397

       v.

UNITED AIRLINES, INC.,                               Judge Harry D. Leinenweber
             Defendant.




                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, Jose De Freitas, and Defendant, United Airlines, Inc., by their respective attorneys,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to the

dismissal of this action with prejudice, with all parties to bear their own fees and costs.

DATED: July 28, 2020

JOSE DE FREITAS                                      UNITED AIRLINES, INC.


 s/ Michael L. Fradin                                s/ Amanda Inskeep
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 and
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